                   Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18          Page
                                                                  Do Not Write in this Space 1 of 16                                                                                        PageID #: 23
                                                                                                     ..Ki^   j* "•                              OFFICIAL USp.QNLY ;
                                                      STATE OF HAWAII-15                       ■^^NT OF PUBLIC SAFfeTY                      Date Received:                                c:Xrt(6iT C
                                                     '^v         ADMINISTRA               EJ^MEDY FORM w^                                   Date Logg^df.
          r-                                 A   '
                                                                                                                                            Date Retiime
          (ThisControINo.Must v; ■
          Accompany All Ai^eals).        /                                                                                                  Response Due: .
                                                                                                                  APt^
          NAME: ^<\jlKiTnK> - ZTot^M T^AfetlR'^AvD                                                   SID:    Vroaus4gr

          HOUSING                                                                                    CONTROL NO: Step I
                               Fmility           ModuleAJnit/BIock/Cell                                                     Step 2

          TO: (Step)^                 Eec^n SMp|ryisor/Inmate. Grievance Specidlist ; A        ■« V
                                      Appeal-Bi^ch/C^re Pi^gfam Adininistratow^^      (jrievance Spetjiallbt                                           ■»
                                      Appeal Institutions/Core Program Division Administrator/Inmate Grievance Specialist
          I attempted to solve this problem through informal discussion with:
          Resolution could not be obtained because:

        ■ ■ Subject cannot be resolved informally because:
          Attachments included: (Lower Step 1; Step 2; Misconduct & Hearing (DOC-8210A); Misconduct Report (DOC-8210)

    r     STATEMENT OF COMPLAINT/GRIEVANCE:                                          ,                                        ,
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                  iff.)
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          RESOLUTION: (Db^t Write In This Space. OFFICIAL USE ONLY)                                                                        ,.               >
                 Thefollpwing is in response to your step III grievance appeal. Housing records indicate that you have been
                 transferred to the Waiawa Correctional Facility on 5/I9/I7. Your issue is moot as you are no longer at the
                 Halawa Correctional Facility. Do.your best to move forward in the system for a successful release into the i .. . vi                                    , ,1


               __cbinnnmil^ Yburgrt^CeisMbd:-v—
                 In accordance with P&P COR.12.03.10.6, thisdecisidpis fiinal and the ultimate recourse available within the
               . admnistrative remedy process.
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          SttSN^UREOFRESPONDENT^^^I^/                                                     7          TITLE        ■ ' - ■'v-;.- ■ ;'/■                          DATE <
          Appeals must be filed within five (5) calendar days upon receipt. Signed & dated ROAs must be returned. Step 3 responses are final.

          INMATEACKNOWLEDGED RESPONSE                                                         DATE

    • ,WHITE/File          CANARY/Inmate Answer                 PINK/Rcspondent . GOLD/Inmate Receipt                                    ^Sp5215 (rev..l^0I5) ,
                        Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 2 of 16                            PageID #: 24
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Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 3 of 16       PageID #: 25

                                            .
                              QUIOTIN-JaiN D'AGIRBftUD, III
                                                                         ziyJn
                                 HCF - #A0265488 - 1A3                   ^
                                  99-902 Moanaliaa Road                          i, /.^
                                     Aiea, HI 96701                          U(C?/I /

                                     July 27, 2016                  tXHlBlT- C-Z
Mr. Nolan Espinda, Director
Department of Public Safety
919 Ala Moana Blvd. 4th Floor
Honolulu, HI 96814

Re: CLOSED OJSTCDY INMATES


Dear Mr. Espinda:

I am writing to you regarding the housing of Closed Custody inmates with inmates
who are Minimum and lower. Through Halawa there are a large amount of Closed
Custody inmates wandering around in their RED laniforms. When an inmate is given
a Closed Custody status it is not only because they have lengthy sentences, but
because they have high level misconducts as well. I was a victim of a gross
injustice where a Closed Custody gang member inmate ordered a "hit" on me and
I was violently physically assaulted, when I reported the assault to staff I was
subsequently charged with fighting. I was Minimum custody at the time and my
transfer package was submitted to downtown. Now due to that incident I have to
renain at Halawa for another year.

After this incident I was placed in Module 4B where there were no CLCSED Custody
inmates, however, on July 24, 2016, UIM Nolan Uehara moved me to Module 1 with the
very CLOSED Custody inmates and gang members that physically assaulted me no less
than four months ago. I have brought this to the attention of the Unit Team
however they have not done anything. I was told that I have to wait until some
thing happens before I can be moved. The Unit Team is fully aware of the corrpli-
cations I had with these gang members, yet moved me in order to stir up trouble
once again. I have been threatened repeatedly by "soldiers" of this gang to
"check out or be killed". However, bringing this to staff's attention is use-I
less.

CLOSED Custody inmates. Sexual Deviants, and Gang moibers as vrell as those with
violent charges/history, should not be housed with inmates who are not these
things. Of course they facility states they are overcrowded and they have to
place inmates where they can, however this is not an excuse. Violent inmates and
gang monbers should all be housed within their own designated module. DPS does
not have a proper custody level segregation for Class C, non-violent inmates
such as myself. It further does not penalize inmate v^o join gangs. Being in
a gang should be a factor on one's custody reclassification instrument. This
will help deter inmates from readily joining gangs if they know it will affect
their point status.
Initially Closed Custody inmates were housed in their own quad, however due to
the increase of these types of inmates the control of them has gotten lax to ^y
the least. They have these inmates sprawled through the facility like any other
inmate.   Since that is the case what's with the bright RED uniforms they live
Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 4 of 16        PageID #: 26

Mr. Nolan Espinda                        "EXHlSlT G^-vB .                         L\l{ri(^
July 21, 2016                                                                      7'
Page 2 of 2


not only amongst the rest of the general population but are housed in cells with
medium/minimum inmates.   So there is no difference.

CLOSED Custody inmates have nothing to lose sort of speak. Their points are
very high, and many are lifers. They start fights and cause trouble for inmates
who are doing well and are trying to make it out of the system, like myself. I
was subjected to a gross injustice and now the Unit Team has placed me with the
very violent individuals that are seeking to harm me at their earliest opportunity.

I ask that you please look at organizing the syst^ appropriately by custody
level.   Laziness on the part of staff is not an excuse.   I further ask that I
am placed away from these inmates who physically assaulted roe. I've already
placed a "separtee" however nothing has happened. I believe staff is waiting
for another assault upon my person and then accuse me of "fighting" once again.

As always, thank you for your time and investigation in this important matter.
I look forward to hearing from you soon.


Sinjsprely,
                 (a


Quintin^ohn D'Agirbaud, III

cc: Mr. Gary Kaplan
     Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 5 of 16                                             PageID #: 27

                             HCF INMATE REQUEST FORM                                                                                 ^
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I have seen the response                                                                                                          ^ -A        7^
to my request.                inmate Signature:                                                              Date:          ^
                                                 L'C.              /«-0                                           ^


                             HCF INMATE REQUEST FORM
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-Approved/DlsapprovccK              Staff Signature:                                                         Date:            /

I have seen the response
to my request.                    Inmate Signature:                                                          Date:

                                                               7                                                 P^^HcT
     Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 6 of 16                          PageID #: 28
Stste of Hawaii                         EXVVv^i'T C-^S                              Department of Public Safety

                                    HALAWA CORRECTIONAL FACILITY

                                        RESPONSE TO INMATE


             Control #:.
             Name of Inmate! DAsirbaud. Ouintin

             SID#:      A0265488                            HOUSING UNIT 1A4

             Date letter initiated:_2Z2ZLZ

             Letter addressed to:          Borges
             Date letter received:_2ZlM2.



             DiSPOSlTiON:

             Quintin:
             In response to your letter to me dated February 9,2017, these are some ofthe inconsistencies 1 found with
             your statements:
             1) First, your reclassification numbers are inaccurate. You will still be Medium custody after yoyr
             reclassification in April 2017. You have misconduct numbers in 3 categories that do not drop offjs months
            from the date of your adjustment hearing, 3/1/2016.
            2) Those points do not drop off until September 1,2017.
            3) You cannot bypass WCF, you will have to go there. It is part of the department transition plan.
            4) Sarah is your case manager. She knows when to process you for transfer and April is not it!
            When you start to draw your own conclusions, you will have racked your brain for nothing. In the final
            analysis, we will set the time and place for your transfer. Move your dates forward by about six months;
             then you will be more accurate.




             c: UTM Morreira, CM Alanzo-Cabardo                            ^              ^


            StaffMember                  ^Tifle                    Date
            Dovie Borges
            White - Inmate's Response Canary - Institutional File         Pink - Respondent Copy
            DOC 3151 (7/02)
       Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 7 of 16                                                                               PageID #: 29



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                                  HCF INMATE REQUfEST FORM ^                                                                                                    >vuj6f^fi4fc^
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to my request.                         Inmate Signature:                                                                                           Date:
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         Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 9 of 16
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                                       HCF 9NMATE REQUEST FORM
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                                                                                                      Cathy Ross
                                                                                                    Deputy Director
                                                                                                    Administration

                                                                                                 Jodie Maesaka-Hirata
                                                                                                    Deputy Director
                                               STATE OF HAWAII                                        Corrections
                                 DEPARTMENT OF PUBLIC SAFETY                                       shaw„ h.tsuH.
                                       919 Ala Moana Boulevard, 4th Floor                           Di.niiiv ninvtnr
                                             HonoluiU. Hawaii 96814                                Law Enforcement

                                                                                           No.


                                                 April 7,2017

     Mr. Quintin Dagirbaud (A0265488)
     c/o Halawa Correctional Facility
     99-902 Moanalua Hwy.
     Aiea^HT 96701

     Dear Mr. Dagirbaud:

     This is in response to your letter dated March 24,2017, regarding your request to be transferred
     to the Waiawa Correctional Facility, then to the OCCC's furlough program.

     In reviewing your record. Unit Manager Keone Morreira recently reclassified you to minimum
     custody on 4/5/17. This decrease in custody is based on the expiration of 12-months from your
     last violent episode; misconduct for fighting 7(1) on 3/1/16.

     In speaking with the Inmate Classification Office(ICG)regarding your transfer packet, Education
     records confirm that as of 3/14/17, you are currently participating in the Transformations
     Cognitive Skills program at HCF. On 3/16/17, the Education Division sent ICO a list of all
     inmates enrolled in this program and has asked that a HOLD be placed on transfers until mid-
     June to allow inmates to successfully complete this recommended program. Since you are
     already in the program and doing well, they want you to finish the program so you do not have to
     start over and retake the program.

     Your Case Manager, Sarah Alanzo, confirmed with ICO today, that" she will prepare a transfer
     packet for WCF as soon as you complete this program.

     Regarding your previous letter to Director Espinda dated July 27, 2016, regarding Close custody
     inmates, there is no record of his office receiving this letter. Further, you were designated as
     close custody after being involved in an assault with another inmate who alleged that you tried to
     grab his private parts in Module 2 on 2/21/16. This incident was reported under PREA and filed
     under HPD report #16-075253(Sex Assault 4). Records confirm that the sex assault misconduct
     was dropped and you were found guilty of 7(I) after a review of the staff reports and photos.
     You were reclassified to medium custody on 3/18/16. Now you have a chance to move forward
     in the system; 1 wish you well.

     Sincerely,^ ^ yO
     fmmMA
     !^hari Kimoto
     Acting Institutions Division Administrator

     c:      Warden S. Harrington/HCF, Inmate Classification Office


                                      "An Equal Opporiuniiy Employer/Agency"
   Case 1:18-cv-00021-JMS-WRP Document 1-4 Filed 01/12/18 Page 15 of 16                                 PageID  #: 6
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                                         (PATIENT COPY)
                                                                                The Queen's Medical
                                                                                Center ED

               THE QUEEN'S MEDICAL CENTER                                       1301 Punchbowl.Street
                                                                                HONOLULU HI 96813
                                                                                Phone: 808-691-4311
                                                                                Fax: 808-691-7871


    Quintin Dagirbaud
   Emergency Department Discharge Instructions

     Visit Date: 4/8/17
     Account Number: 106145250

     Thank you for entrusting us with you or your family's care today at the Emergency
     Department. Our goal is to provide the best emergency care possible. It is very important to
     continue treatment at home and to see a follow-up physician. Besides the contact
     information listed below, included is some helpful information. Please bring this paper
     when vou or vour familv sees the doctor.



   Your Care Team:
      Kim, Reeo Y, MD

   Clinical impression
     Your diagnoses were ASSAULT BY MULTIPLE PERSONS UNKNOWN TO VICTIM. RIGHT
      ORBITAL FRACTURE, CLOSED. INITIAL ENCOUNTER, and CLOSED DISPLACED
      FRACTURE OF DISTAL PHALANX OF LEFT INDEX FINGER, INITIAL ENCOUNTER.
   Follow-up Information
   , Follow up with Michino, James M., DMD. Call in 2 days.
^^^pecialty: Oral and Maxillofacial Surgery
'""NrXontact information
       1580 MAKALOA ST STE 725
                                                                                           Mark F. Wiese
       Honolulu HI 96814-3216                                                               special Agent
       808-973-3747


      Follow up with Facility, Halawa Correctional. Call
                                                            STATE OF HAWAII
      Contact information                                   DEPARTMENT OF THE ATTORNEY GENERAL                    Tel:(808)587^374
       99-902 MOANALUA RD MEDICAL UNIT                      INVESTIGATIONS DIVISION                               Cell:(808)520-5418
                                                            465 South King Street, Suite                          F.ix:(808)586-1371
       Aiea HI 96701-3252                                    Honolulu. Hawaii 96813                          Mark.F.Wiese® hawaii.gov
       808-485-5200


      Follow up with The Queen's Medical Center ED.
                                                                                             DEPARTMENT OF PUBLIC SAFETY
      Specialty: Emergency
      Why: As needed, If symptoms worsen.                                                             SHERIFF'S
      Contact information                                                                        CAPITOL PATROL
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